Case 1:19-cr-10080-NMG Document 2209 Filed 09/13/21 Page 1 of 8

‘ E
UNITED STATES DISTRICT COURT 2ECEIVED CLERIC S OFFIC
DISTRICT OF MASSACHUSETTS DATE -le-

UNITED STATES OF AMERICA,

-against- Criminal No. 1:19-cr-10080-NMG
GREGORY COLBURN, ET AL,

Defendants.

X

MOTION OF NON-PARTY NEWS MEDIA TO INTERVENE
AND FOR ACCESS TO PROCEEDINGS

Dow Jones & Company, Inc., publisher of The Wall Street Journal, Boston Globe Media
Partners, LLC, The Associated Press, and Bloomberg LP (collectively, the "News Media
Intervenors") move to intervene in this matter for the limited purpose of seeking public access to
all proceedings and the immediate release of a full transcript of the portions of the trial that were
conducted in a sealed courtroom, including voir dire.

FACTUAL BACKGROUND

Earlier this week, the Court began jury empanelment for the criminal trial of John Wilson
and Gamal Abdelaziz. The defendants are charged with various crimes in connection with a
larger college admissions bribery scheme, known by its FBI code name "Varsity Blues."

The Court opened the proceedings and made initial remarks to prospective jurors in open
court on September 8, 2021.' During these proceedings, jurors were given a voir dire questionnaire
to fill out and return to the Court. See Dkt. 2169. On September 9th, on Jury Empanelment Day

2, the courtroom was sealed to the public and the press, and no Zoom access was provided. There

' During these proceedings, the physical courtroom was open to the public and the press, and the proceedings could
also be accessed through a Zoom link. ,
Case 1:19-cr-10080-NMG Document 2209 Filed 09/13/21 Page 2 of 8

was no prior notice that the courtroom would be sealed for the remainder of voir dire or that Zoom
access would be unavailable. See id.

Reporters for News Media Intervenors sought to access the courtroom, and when they
could not obtain access, they inquired with the Court's Public Information Specialist. The Public

Information Specialist responded that:

In all jury trials, the individual voir dire of prospective jurors is conducted
at sidebar outside of the hearing of the general public and the press for the
sake of juror privacy. This case requires a large number of prospective
jurors to appear and be subjected to a lengthy jury selection process.
Accordingly, the Court determined that limiting access to the individual
voir dire procedure would best protect the privacy of prospective jurors and
ensure an efficient jury selection process.

After voir dire tomorrow, the pre-emptory challenges will become
open/available on Zoom and in person (with limited seating).

A copy of the email exchange is attached as Exhibit A.

Additionally, on September 9th, the Government filed an assented-to motion for leave to
file under seal a motion to strike a potential juror. The filing stated that the motion to strike
would reference the potential juror's history and append his criminal history report. See Dkt.
2178. On September 10th, the Court granted the motion for leave to file this motion under seal
without reasoning. See Dkt. 2179. Following that, the motion to strike the juror was granted.

See Dkt. 2184. The order granting the motion appears to have been sealed. Jd.

ARGUMENT

I. THE NEWS MEDIA INTERVENORS HAVE A RECOGNIZED RIGHT TO
INTERVENE FOR ACCESS TO THESE PROCEEDINGS.

The press has standing to assert the public's, and its own, rights of access to court records

and proceedings. See, e.g, Globe Newspaper Co. v. Superior Court, 457 U.S. 596, 609 n.25

#150568760_v1
Case 1:19-cr-10080-NMG Document 2209 Filed 09/13/21 Page 3 of 8

(1982) ("representatives of the press and general public must be given an opportunity to be heard
on the question of their exclusion" from court proceedings) (internal citation omitted).

Non-parties like the News Media Intervenors are permitted to intervene in judicial
proceedings for the purpose of obtaining access to judicial proceedings and records. See, e.g. Inre
Providence J. Co., Inc., 293 F.3d 1, 8 (Ist Cir. 2002)(recognizing right of press to seek access to
evidence played at trial); U.S. ex rel. Franklin v. Parke-Davis, 210 F.R.D. 257, 258 (D. Mass.
2002)(same). Accordingly, the News Media Intervenors respectfully request that this Court grant
their request to intervene in this action to challenge the sealing of the courtroom during voir dire
and to seek public access to all remaining proceedings.

II. NEWS MEDIA INTERVENORS HAVE RIGHT OF ACCESS TO COURT
PROCEEDINGS.

A. The Public Right of Access Is Protected Under The Constitution and Common
Law.

Both the First Amendment and the common law protect the public's right of access to
judicial proceedings and records. See Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 577
(1980) (Burger, J.) (the right of access is "assured by the amalgam of the First Amendment
guarantees of speech and press" and their "affinity to the right of assembly"); id. at 585 (Brennan,
J., concurring) (First Amendment secures "a public right of access"); In re Providence Journal
Co., 293 F.3d 1, 9 (Ist Cir. 2002)("Apart from the prerogatives attendant to the common-law right
of access to judicial records, the public and the press enjoy a constitutional right of access to
criminal proceedings under the First and Fourteenth Amendments."); Globe Newspaper Co. v.
Pokaski, 86 F.2d 497, 502 (1st Cir. 1989) ("This circuit, along with other circuits, has established
a First Amendment right of access to records submitted in connection with criminal proceedings.

The basis for this right is that without access to documents the public often would not have a 'full

#150568760_v]
Case 1:19-cr-10080-NMG Document 2209 Filed 09/13/21 Page 4 of 8

understanding’ of the proceeding and therefore would not always be in a position to serve as an
effective check on the system.")(internal citations omitted).

The First Amendment, as the U.S. Supreme Court has said time and again, requires open
courts and court records to ensure the "appearance of fairness [that is] so essential to public
confidence in the system."" Press-Enterprise Co. v. Superior Court (Press-Enterprise I), 464 U.S.
501, 508 (1984). The media's access to judicial proceedings and records keeps the public informed
and helps instill public confidence in both the process and the results of trials. Nebraska Press
Ass'n v. Stuart, 427 U.S. 539, 559-60 (1976); Nixon v. Warner Communications, Inc., 435 U.S.
589, 609 (1978). "The press does not simply publish information about trials but guards against
the miscarriage of justice by subjecting the police, prosecutors, and judicial processes to extensive
public scrutiny and criticism." Landmark Comme'ns, Inc. v. Virginia, 435 U.S. 829, 838-39 (1978).
As the Supreme Court has said: "What transpires in the court room is public property." Craig v.
Harney, 331 U.S. 367, 374, 67 S. Ct. 1249, 1254, 91 L. Ed. 1546 (1947).

B. The Right of Access Extends To Voir Dire.

The First Amendment and common law presumptions of access extends to voir dire. In
Press-Enterprise I, 464 U.S. 501 (1984), the Supreme Court specifically addressed the sealing of
courtrooms during voir dire in a trial for the rape and murder of a teenage girl. There, the trial
Judge had sealed the individual voir dire proceedings and later refused to release transcripts of the
proceedings based on general claims about juror privacy.

The Supreme Court held that the closure of voir dire to the public was unconstitutional,

noting that the "process of selection of jurors has presumptively been a public process" throughout
Anglo-American history and that any "privacy interests of ... prospective juror[s] must be

balanced against the historic values we have discussed and the need for openness of the process."

#150568760_v1
Case 1:19-cr-10080-NMG Document 2209 Filed 09/13/21 Page 5 of 8

Id. at 505. In so ruling, the Supreme Court provided a roadmap for how trial courts should address
certain substantial privacy concerns” that may be implicated by voir dire, while protecting the
constitutional right of access.

To preserve fairness and at the same time protect legitimate privacy, a trial
judge must at all times maintain control of the process of jury selection and
should inform the array of prospective jurors, once the general nature of
sensitive questions is made known to them, that those individuals believing
public questioning will prove damaging because of embarrassment, may
properly request an opportunity to present the problem to the judge in
camera but with counsel present and on the record.

By requiring the prospective juror to make an affirmative request, the trial
judge can ensure that there is in fact a valid basis for a belief that disclosure
infringes a significant interest in privacy. This process will minimize the
risk of unnecessary closure. The exercise of sound discretion by the court
may lead to excusing such a person from jury service. When limited closure
is ordered, the constitutional values sought to be protected by holding open
proceedings may be satisfied later by making a transcript of the closed
proceedings available within a reasonable time, if the judge determines that
disclosure can be accomplished while safeguarding the juror's valid privacy
interests.

Id. at 512.

The First Circuit has repeatedly applied this reasoning in addressing concerns about juror
privacy. See United States v. Chin, 913 F.3d 251, 261 (Ist Cir. 2019)(vacating and remanding
denial of motion to disclose juror names and addresses following verdict); In re Globe Newspaper
Co., 920 F.2d 88 (Ist Cir. 1990)(holding that judges must release the names and home addresses
of jurors after trial, absent exceptional circumstances). And, importantly, in United States v. Chin,
the First Circuit specifically addressed these privacy concerns in today's technological
environment. The district court had denied the request for juror names and addresses, reasoning

that concerns that current technology and communications require greater protections for jury

* Notably, the Supreme Court recognized that not all individual questions will raise privacy concerns: Instead, the
example provided concerned questions about a personal or family history with sexual assault.

5
#150568760_vl
Case 1:19-cr-10080-NMG Document 2209 Filed 09/13/21 Page 6 of 8

privacy. The First Circuit rejected that approach, saying "We recognize, of course, that In re Globe
was decided decades ago and thus well before the first tweet was tweeted.... But, these
technological changes have by no means diminished the need for accountability and transparency
in our system of justice..." Jd. Generalized concerns about privacy -- like those stated by the Court

here -- are insufficient to support sealing all of voir dire.

Cc. There Are No Compelling Circumstances In This Case That Support Sealing
The Courtroom.

When the First Amendment is implicated, court proceedings cannot be closed "unless
specific, on the record findings are made demonstrating that ‘closure is essential to preserve higher
values and is narrowly tailored to serve that interest." See Press-Enter. Co. v. Superior Court
("Press-Enter. II"), 478 U.S. 1, 14-15 (1986).

This case has garnered substantial public attention, raising important questions about
access to higher education and how the defendants may have participated in a criminal scheme to
secure college admissions for their children, including by making payments, directly or indirectly,
to college coaches, administrators, test center employees, and others.

Generalized concerns about juror privacy are insufficient to warrant closing the courtroom
for the voir dire process. And, there are no other compelling circumstances in this case that could
support sealing the courtroom for the entirety of the voir dire process.

In light of this, the courtroom was improperly sealed on September 9th and 10th, and the
Court should remedy the constitutional violation that has occurred. Further, briefing and Court
orders regarding the striking of jurors have been improperly sealed without a sufficient basis.

The News Media Intervenors request that the Court immediately release all of the
completed juror questionnaires and a full transcript of the proceedings from September 9 and 10,
2021. The News Media Intervenors also ask that the Court vacate its order sealing the

6
#150568760_v1
Case 1:19-cr-10080-NMG Document 2209 Filed 09/13/21 Page 7 of 8

Government's motion to strike a potential jury and unseal both the Government's motion to strike
a potential juror (and its order granting the same), subject to any narrow redactions that are
appropriate under the law. The News Media Intervenors also ask the Court consider the
constitutional obligations to provide public access to the remainder of the proceedings.

CONCLUSION

For the reasons set forth above, the News Media Intervenors respectfully request (1) that

they be granted leave to intervene in this matter for the limited purpose of filing this Motion; (2)
that the Court release all the completed juror questionnaires and a full transcript of the proceedings
from September 9 and 10, 2021, subject to any narrow redactions that are appropriate under the
law, (3) vacate its sealing order and unseal the Government's motion to strike a potential juror
(Dkt. 2180) and the order granting the same (Dkt. 2184), again subject to any narrow redactions
that are appropriate under the law, and (4) conduct the remainder of the proceedings in open court.

Respectfully submitted,

HOLLAND & KNIGHT LLP

/s/ Jeremy M. Sternberg

Jeremy M. Sternberg (BBO #556566)

Gordon P. Katz (BBO #261080)

‘10 St. James Avenue

Boston, MA 02116

(617) 523-2700

jeremy.sternberg@hklaw.com
gordon.katz@hklaw.com

Christine Walz

31 West 52nd Street

New York, NY 10019

Phone: (212) 513-3368

Fax: (212) 385-9010
Christine.walz@hkaw.com

Pro Hac Vice Motion to be filed
Counsel for News Media Intervenors

#150568760_v1
Case 1:19-cr-10080-NMG Document 2209 Filed 09/13/21 Page 8 of 8

CERTIFICATE OF SERVICE

I hereby certify that on this 13th day of September, 2021, I filed a copy of the foregoing
with the Clerk’s Office and understand that it will be loaded into the Court’s ECF system
resulting in service to all registered parties. In addition, I have today sent a copy of this motion
via email to lead counsel for each of the lawyers currently representing a party in the pending

trial, namely Stephen Frank on behalf of the government at stephen.frank@usdoj.gov; Michael

Kendall on behalf of John Wilson at michael.kendall@whitecase.com; and Brian Kelly on behalf

of Gamal Abdelaziz at bkelly@nixonpeabody.com.

/s/ Jeremy M. Sternberg
_ Jeremy M. Sternberg (BBO #556566)

#150568760_v1
